DOCUMENTS UNDER SEAL
                     Case 5:16-cr-00019-EJD Clear
                                             Document
                                                  Form 71 Filed 01/16/19 Page 1 04
                                                             TOTAL TIME (m ins):
                                                                                 of mins
                                                                                    1
M AGISTRATE JUDGE                          DEPUTY CLERK                              REPORTER/FTR
M INUTE ORDER                             Lili M. Harrell                            11:46am - 11:50am
MAGISTRATE JUDGE                           DATE                                      NEW CASE          CASE NUMBER
Nathanael Cousins                         January 16, 2019                                            16-cr-00019 EJD
                                                      APPEARANCES
DEFENDANT                                  AGE      CUST  P/NP   ATTORNEY FOR DEFENDANT                      PD.      RET.
Serjoe Mercado                                      N        NP      Graham Archer                           APPT.
U.S. ATTORNEY                              INTERPRETER                             FIN. AFFT               COUNSEL APPT'D
Maia Perez                                                                         SUBMITTED

PROBATION OFFICER            PRETRIAL SERVICES OFFICER                DEF ELIGIBLE FOR              PARTIAL PAYMENT
                             Anthony Granados                         APPT'D COUNSEL                OF CJA FEES
                                        PROCEEDINGS SCHEDULED TO OCCUR
       INITIAL APPEAR              PRELIM HRG       MOTION           JUGM'T & SENTG                             STATUS
                                                                                                                TRIAL SET
       I.D. COUNSEL                ARRAIGNMENT              BOND HEARING            IA REV PROB. or             OTHER
                                                            NH                      or S/R
       DETENTION HRG               ID / REMOV HRG           CHANGE PLEA             PROB. REVOC.                ATTY APPT
                                                                                                                HEARING
                                                     INITIAL APPEARANCE
        ADVISED                  ADVISED                    NAME AS CHARGED            TRUE NAME:
        OF RIGHTS                OF CHARGES                 IS TRUE NAME
                                                        ARRAIGNM ENT
       ARRAIGNED ON                ARRAIGNED ON               READING W AIVED              W AIVER OF INDICTMENT FILED
       INFORMATION                 INDICTMENT                 SUBSTANCE
                                                         RELEASE
      RELEASED            ISSUED                     AMT OF SECURITY         SPECIAL NOTES                 PASSPORT
      ON O/R              APPEARANCE BOND            $                                                     SURRENDERED
                                                                                                           DATE:
PROPERTY TO BE POSTED                           CORPORATE SECURITY                       REAL PROPERTY:
    CASH    $


      MOTION          PRETRIAL                 DETAINED          RELEASED        DETENTION HEARING               REMANDED
      FOR             SERVICES                                                   AND FORMAL FINDINGS             TO CUSTODY
      DETENTION       REPORT                                                     W AIVED
ORDER REMOVED TO THE DISTRICT OF
                                                             PLEA
    CONSENT                      NOT GUILTY                 GUILTY                    GUILTY TO COUNTS:
    ENTERED
    PRESENTENCE                  CHANGE OF PLEA             PLEA AGREEMENT            OTHER:
    REPORT ORDERED                                          FILED
                                                        CONTINUANCE
TO:                              ATTY APPT                 BOND                     STATUS RE:
1/17/2019*                       HEARING                   HEARING                  CONSENT                   TRIAL SET

AT:                              SUBMIT FINAN.               PRELIMINARY            CHANGE OF                 STATUS
                                 AFFIDAVIT                   HEARING                PLEA
11:00am                                                      _____________
BEFORE HON.                      DETENTION                   ARRAIGNMENT            MOTIONS                   JUDGMENT &
                                 HEARING                                                                      SENTENCING
Cousins
       TIME W AIVED              TIME EXCLUDABLE             IDENTITY /             PRETRIAL                  PROB/SUP REV.
                                 UNDER 18 § USC              REMOVAL                CONFERENCE                HEARING
                                 3161                        HEARING
                                                 ADDITIONAL PROCEEDINGS
Defendant not present. Court concurs with Pretrial's concerns for defendant and orders arrest warrant for defendant's failure to
appear.
*Defendant taken into custody after this hearing.
                                                                                          DOCUMENT NUMBER:
